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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

JOHNSON & JOHNSON                             :
HEALTH CARE SYSTEMS INC.,                     :
     Plaintiff,                               :
                                              :
       v.                                     :
                                              :      Civil Action No.:     24-3188 (RC)
ROBERT F. KENNEDY, JR.,                       :
Secretary of Health and Human                 :      Re Document Nos.:     18, 21, 22, 23, 25
Services, et al.,                             :                            28, 33, 38, 39, 41
       Defendants,                            :                            54
                                              :
       and                                    :
                                              :
340B HEALTH, et al.,                          :
      Intervenor-Defendants.                  :

                                         ORDER

              RESOLVING THE PARTIES’ MOTIONS FOR SUMMARY JUDGMENT

       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Plaintiff’s Motion for Summary Judgment (ECF No. 18) is

DENIED; Proposed Amici’s Motions for Leave to File Amicus Briefs (ECF Nos. 21, 22, 23, 25,

28, 33, 38) are GRANTED; Plaintiff’s Motion to Strike (ECF No. 39) is DENIED; and

Defendants’ and Intervenor-Defendants’ Cross Motions for Summary Judgment (ECF Nos. 41,

54) are GRANTED.

       SO ORDERED.


Dated: June 27, 2025                                          RUDOLPH CONTRERAS
                                                              United States District Judge
